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                           IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF MARYLAND

KEITH SETH, et al.,                                      *
Individually and on behalf of a class
of similarly situated persons,                           *

         Plaintiffs,                                     *

    v.                                                   *             Civil Action No. 8:20-cv-01028-PX

                                                         *
MARY LOU MCDONOUGH,
In her official capacity as                              *
Director of the Prince George’s County
Department of Corrections,                               *

         Defendant.                                     *
                                                       ***

                                                    ORDER

Pursuant to Federal Rule of Evidence 706, the Court hereby appoints as an expert witness in the
field of medicine, infectious diseases, and public health in the corrections setting, Carlos
Franco-Paredes, MD, MPH, to provide information to the Court responsive to the Plaintiffs’
Motion for Temporary Restraining Order (ECF No. 3), and render an expert opinion on the
current health and safety of Plaintiff-detainees at the Prince George’s County Detention Center
(the Facility) in light of the COVID-19 pandemic, including but not limited to the Facility’s
compliance with the pertinent CDC guidelines and, if warranted, issue recommendations
regarding corrective measures to address the presence of the COVID-19 virus at the Facility.

Further, the Court ORDERS that Dr. Franco-Paredes and his associates1 shall be granted
access to the Facility unannounced and bring with them laptops or other similar equipment with
internet access, cameras, cell phones, writing implements, and any other equipment required to
conduct their site visits. Once in the Facility, Dr. Franco-Paredes shall be permitted to inspect
areas of the facilities without limitation and shall be permitted to speak with staff and inmates in
confidence and outside of the presence of Facility supervisors and staff. The inspection shall
take place during normal business hours (i.e. 8 a.m. to 5 p.m.) on any day of the week.

To the extent the inspection, review, and report includes protected health or other sensitive
information, it shall be kept in restricted or under seal access pursuant to this Court’s protective
Order to be issued by separate filing.



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  Dr. Franco-Paredes shall provide to all counsel the names of all individuals who will accompany him on his
inspection.
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It is further ORDERED that Dr. Franco-Paredes shall be given a copy of the FULL record in
this case to date. Counsel for Plaintiffs shall transmit, by email, each ECF filing in PDF format
by close of business today.

It is further ORDERED that Dr. Franco-Paredes may confer with counsel for the Plaintiffs and
Defendant each, ex parte, and for no more than one hour.

It is further ORDERED that Dr. Franco-Paredes shall be permitted to review all pertinent
Facility records and documents, electronic or otherwise, and video footage in connection with
their investigation.

The Facility is also ORDERED to preserve all pertinent documents and video footage.

It is further ORDERED that the Facility shall make all supervisors and staff available for
interviews, including telephonic interviews conducted by Dr. Franco-Paredes or his associates
immediately and without undue delay.

It is further ORDERED that the Facility provide a sufficient supply of full personal protective
equipment (PPE) to safely enable their inspections at the time of those inspections and/or permit
Dr. Franco-Paredes and his associates to bring within the facility such PPE as Dr. Franco-
Paredes deems necessary.

As previously discussed, the parties are to bear the cost of Dr. Franco-Paredes’ services equally.
The parties shall meet and confer regarding the manner and timing of such payment and make
every effort to arrive at agreement without further Court involvement.



       5/1/2020                                                     /S/
Date                                                         Paula Xinis
                                                             United States District Judge




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